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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 ALPHONSO NICHOLAS FAGGIOLO,

                        Plaintiff,
                                                             CIVIL ACTION
        v.                                                   NO. 23-1904

 COUNTY OF DELAWARE et al.,

                        Defendants.


                                          ORDER

       AND NOW, this 31st day of October 2023, upon consideration of Plaintiff’s Motion for

Summary Judgment (Doc. No. 12), Defendants County of Delaware, Delaware County Tax Claim

Bureau, Karen Duffy and John Van Zelst’s Response in Opposition (Doc. No. 14), Defendant

Susan Brochet’s Response in Opposition (Doc. No. 13), and in accordance with the statements of

the Court made on the record at the October 31, 2023 hearing with Plaintiff and counsel for

Defendants, it is ORDERED that Plaintiff’s Motion for Summary Judgment (Doc. No. 12) is

DENIED as premature.

                                                  BY THE COURT:



                                                    /s/ Joel H. Slomsky
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                                                  JOEL H. SLOMSKY, J.
